                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

         UNITED STATES OF AMERICA,
                   Plaintiff,
                                                             No. 3:22-cr-14
                 v.
                                                             Judges Varlan/McCook
         DAVID HENDERSON,
                   Defendant.

                        RESPONSE IN OPPOSITION TO DEFENDANT’S
                          MOTION FOR A BILL OF PARTICULARS

         Defendant’s motion for a bill of particulars should be denied because the indictment

  contains detailed allegations setting forth (i) the existence of a conspiracy to steal federal

  program funds; (ii) the operations, methodology, and purpose of the conspiracy; (iii) defendant’s

  role in the conspiracy; and (iv) more than fifty overt acts committed by defendant and his

  coconspirators in furtherance of the conspiracy. Moreover, the discovery produced by the

  United States is organized, comprehensive, and complete.

                                  SUMMARY OF ALLEGATIONS

         The indictment’s allegations are specific and comprehensive. [See generally Doc. 3,

  Indictment.] The indictment charges defendant with conspiracy to commit federal program

  fraud, in violation of 18 U.S.C. § 371. [Id. at 3 (Count One).] Importantly, the indictment does

  not charge defendant with a substantive violation of federal program fraud, in violation of

  18 U.S.C. § 666(a)(1)(A). 1 The elements required to prove a conspiracy to commit federal


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    Defendant’s reliance on United States v. Valentine is misplaced because there, unlike here, the
  defendant was charged with federal program fraud, in violation of 18 U.S.C. § 666(a)(1)(A), and
  not conspiracy to commit federal program fraud. 63 F.3d 459, 461-62 (6th Cir. 1995). Here,
  unlike in Valentine, the indictment charges a conspiracy. [Doc. 3, Indictment at 3 (Count One).]
  Thus, the elements the United States must prove to establish defendant’s conviction are different
  from the elements in Valentine. See, e.g., United States v. Washington, 715 F.3d 975, 979-80



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  program fraud, in violation of 18 U.S.C. § 371, include the following: (i) defendant knowingly

  and willingly joined the conspiracy; (ii) the purpose of which was to steal federal program funds,

  in violation of 18 U.S.C. § 666(a)(1)(A); and (iii) a member of the conspiracy took an overt act

  in furtherance of the conspiracy. See United States v. Washington, 715 F.3d 975, 979-80 (6th

  Cir. 2013). The indictment alleges, with specificity, that a conspiracy existed; that defendant

  knowingly and willingly joined the conspiracy; that the purpose of the conspiracy was to steal

  federal program funds to unjustly enrich defendant and others; and that defendant himself

  committed more than fifty overt acts in furtherance of the conspiracy. [See generally, Doc. 3,

  Indictment.] The overt acts are described in detail, including the dates of purchases, the method

  of payment, the exact price of the items purchased, and the beneficiary of the purchase. [Id.]

         First, the indictment alleges that the object of the conspiracy was for defendant to use his

  authority as Chief of the Knox County Sheriff’s Office (“KCSO”) Narcotics Unit to enrich

  himself and others by, among other things, directing his subordinates to use Knox County

  funds—money from the Narcotics Cash Fund and the Narcotics Credit Card (“Credit Card”)—to

  purchase items for defendant’s personal use or for the personal use of defendant’s family

  members, associates, and friends, and for the former Knox County Sheriff. [Doc. 3, Indictment

  at 2 (¶¶ 9-11); id. at 4 (Object of the Conspiracy).]




  (6th Cir. 2013) (holding that, where the United States charged a Section 371 conspiracy—the
  purpose of which was to violate Section 666(a)(1)(A)—“the government merely had to prove
  beyond a reasonable doubt that Washington knowingly and voluntarily joined a conspiracy that
  intended to fraudulently obtain money and a member of the conspiracy took at least one overt act
  in furtherance of the conspiracy.”) (citing 18 U.S.C. § 371). Washington unequivocally held
  that the United States was not required to prove all the elements of federal program fraud when
  the defendant was charged only with conspiracy. Washington, 715 F.3d at 979-80.

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         Next, the indictment describes in detail how the conspiracy worked. [See generally

  Doc. 3, Indictment at 4-7 (¶¶ 1-15) (describing the Manner and Means of the conspiracy).] The

  Manner and Means section of the indictment includes, among other things, allegations regarding

  the duration of the conspiracy (see id. ¶ 2); how defendant exercised his authority over

  subordinate officers (id. ¶ 3); how defendant caused receipts for purchases to be submitted to the

  Knox County Finance Department for approval (id. ¶ 6); and how defendant concealed the

  conspiracy by not personally using the Credit Card, but instead instructing subordinates to use

  the Card to purchase items for defendant’s personal benefit or the personal benefit of defendant’s

  family members, associates, and friends, and the former Knox County Sheriff. (Id. ¶ 7.)

         The indictment includes specific details about purchases made with Knox County funds.

  First, it alleges that defendant directed subordinates to use money from the Cash Fund—money

  that had been seized by the KCSO from criminals—to purchase items for defendant’s personal

  use or for the personal use of defendant’s family members, associates, and friends, and for the

  former Knox County Sheriff. [Doc. 3, Indictment at 7-11 (¶¶ 2-21) (listing twenty separate

  items).] Second, the indictment alleges that defendant instructed his subordinates to use the

  Credit Card, which was provided by Knox County and paid for with County funds, to purchase

  twenty-six Apple products for his personal use and for the personal use of others. [Id. at 13-15

  (¶ 26) (listing twenty-six Apple products purchased with the Credit Card at defendant’s direction,

  including the purchase date, the price paid, the make and model of the device, and a general

  description of who first registered the device).] In total, the indictment alleges with specificity

  that defendant directed subordinates to purchase more than fifty items with either money from

  the Cash Fund or the Credit Card. [See, e.g., Doc. 3, Indictment at 7-11 (¶¶ 2-21) (listing

  specific purchases dating back to January 30, 2012, and continuing to September 17, 2018); 13-



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  15 (¶ 26) (Apple Products) (including chart that lists twenty-six Apple products; the date of

  purchase; the make and model of the Apple product; the price; the date the device was first

  registered; and a general description of who first registered the device).]

         There is more. In the overt-acts paragraphs, the indictment includes specific allegations

  about the Duck Blind, a structure built by defendant’s subordinates—at defendant’s direction—

  while the subordinates were allegedly on official duty. [Doc. 3, Indictment at 11-13 (¶¶ 22-25).]

  The indictment alleges that defendant instructed his subordinates to use money from the Cash

  Fund or the Credit Card to purchase several items to finish, outfit, and accessorize the duck

  blind. [Id. ¶ 24(a)-(f).] The indictment describes each purchase in granular detail, providing

  the source of the funds for the purchase, the specific date of the purchase, where the item was

  purchased, and the exact price of the item—down to the cent. [See, e.g., id. ¶ 24(e) (alleging

  that defendant directed a subordinate to use money from the Cash Fund “to purchase a steel tube,

  chain swagging tool, and ferrule stop kit for the duck decoys. The subordinate did, in fact, use

  monies from the Narcotics Cash Fund to purchase these items at Lowe’s for $44.29.”]

         Finally, the indictment includes specific allegations surrounding defendant’s use of a

  Knox-County-owned facility to restore antique vehicles during the workday. [Doc. 3,

  Indictment at 15-16 (¶¶ 27-33).] The indictment alleges that defendant and “several of his

  subordinates—often at [defendant]’s request—worked on [defendant]’s cars during the workday

  and late into the evenings.” [Id. ¶ 29.] The indictment alleges, with specificity, the make and

  model of each antique car defendant and others restored in the Knox-County-owned facility and

  the related items defendant instructed a subordinate to purchase with the Credit Card. [Id. at 15

  (¶ 29) (’68 Chevy Camaro, ’68 Chevy Chevelle, and ’72 Ford F-100); 15-16 (¶ 31) (automotive

  lift for $3,595 using a purchase order from the KCSO Finance Department); 16 (¶ 33) (paint



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  guns for $643.21).] Like the other allegations in the overt-acts section, the allegations in this

  section include granular details about the purchases, including the source of funds, the items

  purchased, the date of the purchases, and the exact price of the items purchased. [Id. ¶¶ 31-33.]

         In sum, defendant’s claim that the allegations in the indictment leave him “unable to

  prepare for trial” is contradicted by the specificity of the allegations in the indictment. [Doc. 19,

  Mem. at 5.]

                                        LEGAL STANDARD

         An “indictment . . . must be a plain, concise and definite written statement of the essential

  facts constituting the offense charged.”   Fed. R. Crim. P. 7(c)(1). An indictment is sufficient

  “if it, first, contains the elements of the offense charged and fairly informs a defendant of the

  charge against which he must defend and, second, enables him to plead an acquittal or conviction

  in bar of future prosecutions for the same offense.” Hamling v. United States, 418 U.S. 87, 117

  (1974); United States v. Landham, 251 F.3d 1072, 1079 (6th Cir. 2001). The statutory language

  must “be accompanied with such a statement of the facts and circumstances as will inform the

  accused of the specific offence (sic), coming under the general description, with which he is

  charged.” Hamling, 418 U.S. at 117-18 (quoting United States v. Hess, 124 U.S. 483, 487

  (1888)). If the indictment “states the specific time frame in which the acts occurred, [that is

  sufficient to] satisfy any double jeopardy concerns.” United States v. Paulino, 935 F.2d 379,

  750 (6th Cir. 1991).

         “The purposes of a bill of particulars are to inform the defendant of the nature of the

  charge against him with sufficient precision to enable him to prepare for trial, to avoid or

  minimize the danger of surprise at the time of trial, and to enable him to plead his acquittal or

  conviction in bar of another prosecution.” United States v. Birmley, 529 F.2d 103, 108 (6th Cir.



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  1976). “[T]he test in ruling on a motion for a bill of particulars is whether providing such

  details is necessary to the preparation of the defense and avoidance of prejudicial surprise.”

  United States v. Musick, 291 F. App’x. 706, 724 (6th Cir. 2008) (emphasis added). That is, a

  bill of particulars is only appropriate “when the indictment itself is too vague and indefinite for

  such purposes.” United States v. Martin, No. 86-1663, 1987 WL 38036, at *2 (6th Cir. July 14,

  1987) (quotations omitted). Indeed, “[t]he level of detail in the indictment can be a basis for

  denying the motion for a bill of particulars.” United States v. Bibb, No. 3:19-cr-151-TAV-DCP,

  2021 WL 2383326, at *5 (E.D. Tenn. June 10, 2021) (citing United States v. Salisbury, 983 F.2d

  1369, 1375 (6th Cir. 1993)).

         “[A] bill of particulars is not to be used as a general discovery device.” Martin, 1987

  WL 38036 at *3. And, it “is not meant as a tool for the defense to obtain detailed disclosure of

  all evidence held by the government before trial.” Salisbury, 983 F.2d at 1375. Indeed, “[f]ull

  access to discovery further weakens the case for a bill of particulars.” United States v. Page,

  575 F. App’x. 641, 643 (6th Cir. 2014) (upholding denial of motion for bill of particulars while

  noting that the defendant “received ample discovery from which he could have discerned the

  possible identities of his co-conspirators”) (quotations omitted); see also Martin, 1987 WL

  38036 at *3 (“If there has been full disclosure by the Government . . . the need for a bill of

  particulars is obviated.”) This is “particularly true in a conspiracy case in which the

  Government is not required to disclose all overt acts alleged to have occurred in furtherance of

  the conspiracy.” United States v. Hayes, No. 88-5967, 1989 WL 105938, at *3 (6th Cir. Sept.

  14, 1989). Indeed, “a defendant is not entitled to discover all the overt acts that might be proven

  at trial.” Salisbury, 983 F.2d at 1375.




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         Moreover, “[a] bill of particulars is not an investigative tool to be used for the acquisition

  of evidentiary detail, and the prosecution need not particularize all of its evidence before trial.”

  United States v. Haddix, No. 5:07-137-JMH, 2007 WL 4553170, at *2 (E.D. Ky. Dec. 19, 2007)

  (quoting United States v. Torres, 901 F.2d 205, 234 (2nd Cir. 1990)). Indeed, requests for

  specific information (like the requests defendant makes in his motion) are routinely denied. See

  Musick, 291 F. App’x at 724 (denying motion for bill of particulars and noting that “[t]he bill of

  particulars is not intended as a means of learning the government’s evidence”).

         A defendant “is not entitled to a bill of particulars with respect to information which is

  available through other sources” or “if the purpose of the bill is to obtain a list of the

  Government’s witnesses.” Paulino, 935 F.2d at 750; Musick, 291 F. App’x. at 724. The bill

  “is not intended as a means of learning the government’s evidence and theories.” Musick, 291

  F. App’x. at 724. “The decision to order a bill of particulars is within the sound discretion of

  the trial court.” Salisbury, 983 F.2d at 1375.

                                              ARGUMENT

            Defendant’s motion for a bill of particulars should be denied because the indictment’s

  allegations are specific, and the United States has produced comprehensive discovery. Most of

  defendant’s argument for why he claims to need a bill of particulars stems from his assertion that

  the United States is required to prove each element of the substantive offense of federal program

  fraud. [Doc. 19, Mem. at 5 (claiming that defendant “has no way to determine which property,

  valued at $5,000 or more, was stolen or otherwise misappropriated during a specific twelve

  month period”).] But as shown above, the United States is not required to prove the elements of

  federal program fraud because defendant is charged only with conspiracy. See United States v.

  Phillips, 872 F.3d 803, 806 (6th Cir. 2017) (“The government need not prove the elements of



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  fraud to convict [the defendant] of conspiracy. ‘It is elementary that a conspiracy may exist and

  be punished whether or not the substantive crime ensues.’”) (emphasis in original) (quoting

  Salinas v. United States, 522 U.S. 52, 65 (1997)). Here, defendant is charged only with

  conspiracy, and the indictment’s specific allegations combined with the extensiveness of

  discovery undercut any need for a bill of particulars.

          A.      The indictment’s allegations are specific, detailed, and extensive.

          The specificity of the allegations in the indictment is sufficient for the Court to deny the

  defendants’ motion. See United States. v. Daugherty, No. 5:16-cr-22-DCR-REW, 2017 WL

  839472, at *1 (E.D. Ky. Feb. 28, 2017) (A bill of particulars “should be required only where the

  charges of an indictment are so general that they do not advise a defendant of the specific facts of

  which he is accused.”) (quotations omitted). The indictment’s allegations are specific and

  detailed, and therefore a bill of particulars is not required.

          The indictment alleges an ongoing conspiracy beginning in or around 2011 and

  continuing uninterrupted to in or about September 2018. [Doc. 3, Indictment at 3 (Count One).]

  During that entire time, defendant was the Chief of the KCSO Narcotics Unit. [Id. at 1 (¶ 5).]

  The details of the conspiracy as alleged in the indictment are not complex. For example, the

  indictment alleges that defendant conspired with others to use two sources of Knox County funds

  to unjustly enrich himself and others: the Credit Card and the Cash Fund. [Id. at 2-3 (¶¶ 9-11).]

  The indictment also alleges that defendant and others conspired to deprive Knox County of the

  right to its employees’ time and labor during official hours by directing certain subordinate

  officers to perform renovation, remodeling, and construction projects of a purely personal nature

  at various locations and for the personal benefit of various individuals, including defendant and

  the former Knox County Sheriff. [Id. at 3 (Object of Conspiracy).] The indictment alleges



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  specific details about each project, including the date the project occurred, the duration of the

  project, the identity of the beneficiary, and any ancillary purchases that defendant directed with

  money from the Cash Fund or the Credit Card. [Id. at 11-12 (¶¶ 22-25) (Duck Blind); id. at 16-

  18 (¶¶ 34-42) (building privacy fence for the former Knox County Sheriff; installing a metal roof

  on a subordinate’s home; and building a screened-in porch at defendant’s residence).]

         Moreover, because the indictment alleges that defendant coordinated many of the

  construction and renovation projects himself—or directly benefited from them—he already

  knows the identity of the subordinate officers involved in each project. Defendant instructed the

  subordinate officers where to go and what to do. [See, e.g., Doc. 3, Indictment at 17 (¶ 37) (“In

  or around March 2018, Henderson directed a group of subordinate officers to build a privacy

  fence as the former Knox County Sheriff’s personal residence.”).]

         Defendant also complains that “[t]he Indictment does not name the unindicted

  coconspirators.” [Doc. 19, Mem. at 1.] But defendant is not entitled to that information. 2 See

  e.g., United States v. Rey, 923 F.2d 1217, 1222 (6th Cir. 1991) (affirming denial of motion for

  bill of particulars where, as here, the defendants requested names of co-conspirators, because “it

  is not essential that a conspirator know all other conspirators”); United States v. Crayton, 357

  F.3d 560, 568 (6th Cir. 2004) (“[T]he government is not required to furnish the names of all

  other co-conspirators in a bill of particulars.”); Page, 575 F. App’x. at 643 (noting “[a]s an initial

  point, the government is not obliged to provide the names of a defendant’s alleged co-



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    Nor may defendant request a bill of particulars to receive early disclosure of the United States’
  witness list. See Musick, 291 F. App’x. at 724 (“A defendant is not entitled to a bill of
  particulars if the purpose of the bill is to obtain a list of the Government’s witnesses.”); United
  States v. Largent, 545 F.2d 1039, 1043-44 (6th Cir.1976) (affirming denial of motion for bill
  because the defendant “sought the names of all the Government’s witnesses,” a request the court
  deemed “overbroad”).

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  conspirators”). At any rate, defendant should not be surprised by coconspirator testimony at

  trial, as the indictment clearly alleges that defendant conspired with others. [R. 3, Indictment, at

  3 (Count One).] See Crayton, 357 F.3d at 568 (finding no “unfair surprise” where, as here, the

  defendant “knew that unnamed persons were referred to in the conspiracy count of the

  indictment”). Moreover, the specificity of the indictment’s allegations discloses specific

  purchases (and dates) made by coconspirators at defendant’s direction; specific construction and

  renovation projects (and dates) performed by coconspirators at defendant’s direction; and

  specific antique vehicles that defendant and others restored in the Blue Building. [See, e.g.,

  Doc. 3, Indictment at 13-14 (¶ 26) (Apple Products); id. at 16-18 (¶¶ 34-42) (Construction and

  Renovation Projects); id. at 15-16 (¶¶ 27-33) (Restoration of Antique Vehicles).]

          To the extent defendant argues that the overt-acts section of the indictment lacks

  specificity (it does not), “a defendant is not entitled to discover all the overt acts that might be

  proven at trial.” Salisbury, 983 F.2d at 1375; see also Musick, 291 F. App’x. at 724 (“[a]

  defendant is not entitled to a bill of particulars if the purpose of the bill is to . . . discover all of

  the overt acts that might be proven at trial”); Martin, 1987 WL 38036 at *3 (“in a conspiracy

  case [] the Government is not required to disclose all overt acts alleged to have occurred in

  furtherance of the conspiracy.”); United States v. Schaffer, 586 F.3d 414, 422 (6th Cir. 2009)

  (denying motion in conspiracy case where indictment alleged the objective of the conspiracy, the

  role played by each defendant, the overt acts, and the means). The specificity of the allegations

  in the indictment undermines defendant’s request for a bill of particulars.

          B.      The discovery is comprehensive and well organized.

          The fact that the United States has provided defendant with complete discovery in an

  organized format undermines his request for a bill of particulars. See United States v. Tillotson,



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  490 F. App’x. 775, 777 (6th Cir. 2012) (affirming denial of motion where “the indictment –

  coupled with [extensive] discovery materials – adequately notified [the defendant] of the case

  against him and provided him ample opportunity to prepare a defense.”); Page, 575 F. App’x. at

  643 (“full access to discovery further weakens the case for a bill of particulars”) (citations and

  quotations omitted); United States v. Readus, No. 3:09-00240, 2013 WL 3285052 (M.D. Tenn.,

  June 28, 2013) (noting government’s argument that it provided “significant amounts of

  information in discovery and Jencks material” in decision to deny defendant’s motion for bill of

  particulars.); see also Musick, 291 F. App’x. at 725; Martin, 1987 WL 38036 at *3.

          The discovery in this case provides even more details about each of the allegations.

  Discovery includes additional information about the purchases defendant directed, including

  receipts for items and statements made by individuals with knowledge of the purchases.

  Discovery also includes additional information about the construction and renovations projects,

  including timestamped photographs depicting the individuals who performed the projects and

  benefited from them. Furthermore, discovery includes statements from individuals who were

  interviewed during the investigation and who have knowledge of the purchases, the construction

  and renovation projects (including the Duck Blind), and the restoration of the antique cars in a

  Knox-County-owned facility. The completeness and the extensiveness of the discovery in this

  case nullifies the need for a bill of particulars.




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                                         CONCLUSION

        For the foregoing reasons, defendant’s motion for a bill of particulars should be denied.

                                                             Respectfully submitted,

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